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             IN THE CIRCUIT COURT FOR HILLSBOROUGH COUNTY, FLORIDA


 Deborah VauHorn,

        Plaimifg

 vs.                                                        Case No: 1 3 4 9 9203
                                                                   jaw 5
 Centene Management Company, LLC.,
 Sunshine State Health Plan, Inc.,
 and Sunshine Health,
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                                                                                              3:     :U
        Defendants.
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                       COMPLAINT AND DEMAND FOR JURY TRIAL                            -8
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                                                                                               -=r
        Plaintiff; DEBORAH VANHORN, by and through her undersigned counsel, su'eB                    :U
                                                                                                     -*I
Defendants, CENTENE MANAGEMENT COMPANY, LLC., SUNSHINE STATE HEALTH

PLAN, INC. AND SUNSHINE HEALTH, and states as follows:

                                             INTRODUCTION

        1.     This is an action for damages that exceeds iiiieen thousand dollars and no/1 00

($15,000.00), against Defendants Center Cozjporation, Sunshine State Health Plan, Inc. and

Sunshine Health (collectively "Defenda.nts") to address discdmination and retaliateon in violation

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                    1       fsActof1964,as amended24USC§20()(".t1
                                                         be TieVII,)
                                                                  ',the
Florida Civil RiB*11S Act (the "FcRA">, me Americans with Disabilities Act (the "ADA"), and

for the tort of negligent supervision.

       2.      Ms. VanHom is a former employee of Defendants.

       3.      Dudng all times relevant to this matter, Ms. Van Horn was an employee subject to

dne protections of Title VII, the FCRA, the ADA, and other Florida Law.

                                 JURISDICTION AND VENUE


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        4.      This court has subject matter jurisdiction over this action, pursuant to Chapter 26,

Florida Statutes, as.Plaintitf seeks to recover damages in excess of $l5,000.00, exclusive of

attorneys' fees, costs, and interest.

        5.      Venue is proper under Chapter 47, Florida Statutes, as P1ainti5's claim arose in

Hillsborough County, Florida

        6.      Additionally, venue is proper under Chapter 47, Florida States, as Defendants

have, or usually keep, an office for transaction of their customary business or has an agent or

other representative in Hillsborough County, Florida

                                               THE PARTIES

        7.      At awl times material hereto, Plaintiff was a resident of the State of Florida

Plaintiff was and is a protected employee under Title VII, the FCRA, the ADA, and other Flodden

Law.

        8.      Defendants are organized under the laws of the State of Florida and registered and

licensed to do business in Florida

        9.      At all times material hereto, Defendants transacted business and performed

services in this Judicial District.

        10.    Defendants were P1a.inti8's employer within the scope of Title VH, the FCRA, the

ADA, and other Florida Law, during the times relevant to this Complaint.

        11.    Plaintiff has satisfied all conditions precedent to Sling this action.

                                        STATBMBNT OF FACTS

       12.     In or around September 2013, Plaintiff was hired as a "Community Outreach

Coordinator" by Defendants on a full-time, salaried basis for their Tampa location. Plainti&` was

later promoted to "Marketing & Communications Specialist".



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          13.    While employed by Defendants, PlaintiH's assigned supervisor, Director of

 Marketing & Communications David Carrasco, engaged in a patted of hostile and/or retaliatory

behavior beginning in the summer of 2016 and continuing throughout the term of Plaintiffs

 employment with Defendants.

          14.   Mr. Carrasco's behavior included multiple inappropriate comments and invasions

of Plaintiffs physical space. Mr. Carrasco also made inappropriate phone calls to Plaintiff while

she was out sick, out on PTO and during her vacation.

          15.   Dudng the summer of 2016, Mr. Carrasco called P1ainti&'s home while she was

out sick and was answered by Plaintiffs then-boyhiend, who asked why Mr. Carrasco was

calling their house while Plaintiff was out sick. Mr. Carrasco abruptly ended the call. Upon

returning to work, Plaintiff was chastised by Mr. Carrasoo for not informing him that she was in

a relationship, and her world ad was immediately increased.

          16.   In or around October of 2016, Plaintiff was denied by her immediate supervisor,

Mr. David Carrasco, the use of her accrued sick days to be with her then-Eancée as he underwent

surgery. Plaintiff was questioned by Mr. Carrasco as to why she did not inform him that she had

a Bancée.

        17.     Also in or around October of 2016, Plaintiff was informed that she would report

to a new immediate supervisor, Ms. Barbara Getz. Several weeks after having been assigned a

new supervisor, Plaintiff was verbally informed that she would continue to report to Mr. David

Carrasco, even though Ms. Barbara Getz would remain her nominal supervisor in the company

system.

       18.      In or around December of 2016, Plaintiff and her then-liancée travelled to Ft.

Lauderdale to assist with a corporate function, having been told by Mr. Carrasco that all travel



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 expenses would be covered for her and her then-tiancée. However, upon arriving in Ft.

Lauderdale, Mr. Carrasco refused to pay the expenses of Plaintiffs then-tiancée, stating that no

more volunteers were needed.

        19.    On or around January 19, 2017, Mr. Carrasco called Plaintiff over to his cubicle

and, while remaining seated in his desk chair as Plaintiff was standing, grabbed Plaintiff tightly

by die hand and began stroking her arm, grazing closely to her breast. Mr. Carrasco stated to

Plaintiff that he loved her and that she could call him anytime, among other inappropriate

remarks implying a desire on the part of Mr. Carrasco for a close relationship between him and

Plaintiff Plaintiff pulled her am away Hom Mr. Carrasco and stated that she would never call

him.

       20.     On January 20, 2017, Plaintiff was verbally berated by Mr. Carrasco Ana he

refused to sign her travel expense reports. Also on this day, Plaintiff represented to Mr. Carrasco

her concerns regarding her increased world ad and lack of necessary technological training to

complete her new assigned job duties. Plaintiff was told by Mr. Carrasco that she needed to

independently seek out additional technological training or find another job. This incident was

witnessed by two other employees, who reported it to HR.

       21.     On January 23, 2017, Plaintiff verbally expressed her work concerns to Jennifer

Guy, Vice President of Communications, while Mr. David Carrasco was present on the

conference call. Plaintiff was repeatedly berated by Ms. Guy on this conference call, who stated

that Plaintiff would be unhappy in her job regardless of the training she had. When Plaintiff did

not concede, Ms. Guy appealed to M1'. Carrasco and stated the he should "hy to make her

understand."




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         22.    On January 24, 2017, Plaintiff called out sick to Mr. Carrasco, who called her

twice on her cell phone over the course of that day. On this same, Plaintiff reported the January

19, 2017 incident involving David Carrasco to Centene Human Resources, as well as in a report

to the Hillsborough County Sheriffs office.

         23.   In or around January 2017, Plaintiff candled out sick again, this time to her nominal

supervisor Barbara Getz. Plaintiifwas then contacted via email by Mr. Carrasco and told that she

needed to report to him, not Ms. Getz.

         24.   The harassment was pervasive, severe, and continued despite multiple complaints.

Plaintiffs workload was increased to unreasonable levels and she was tasked with performing

Work for which she had little or no experience or training.

         25.   Plaintiff reported all such behavior to Centene Human Resources on January 24,

2017. Plaintiff also Sled a report with the Hillsborough County Sheriffs Office on January 24,

2017.

        26.    In or around January 2017, Plaintiff was granted FMLA leave. Plaintive was

suffering and continues to suffer Hom PTSD, severe depression and panic attacks as a result of

her hostile work environment and the longstanding retaliatory pattern of harassment, both sexual

and otherwise, by her immediate supervisor Mr. David Carrasco. Plaintiff's FMLA leave

continued through to April 2017.

        ,27.   In or around February 2017, Plaintiff was interviewed by the HR Manager in the

Maitland 08m regarding the January 19, 2017 incident involving David Carrasco. The HR

Manager refused to allow Plaintiff's then-fiancee into the room to be present for the interview,

and refused to provide PlaintiE with a copy of the printed interview questions. On February 14,




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 2017, Plaintiff received the HR Manager's notes for the February 2 meeting, in which several

key questions a.ndpieoes ofinfomnation were omitted.

        28.      Several times during January and February of 2017, Plaintiff requested of Human

Resources that they locate and secure the video footage of the January 19 incident in which she

was assaulted by David Carrasco.

        29.      On February 22, 2017, Defendants mandated Workplace Harassment Training for

all employees.

        30.      In May of 2017, Defendants failed to pay Plaintiff her 2016 employee bonus,

which was paid to associates in the second quarter of 2017. On May 30, Plaintiff received an

email iirom Jodie Cohen, Vice President of Human Resources for Sunshine Hearth/ Center

Corporation, stating that the termination of Plaintiffs employment with Defendants would be

effectuated June 1, 2017 and considered a voluntary resignation.

       31.     Defendants failed to reasonably accommodate Plaintiff by keeping Mr. David

Carrasco employed in a supervisory capacity.

       32.     Defendants granted FMLA leave but continued to refuse any reasonable

accommodation of Pldntiifs condition. Plaintiff was not medically cleared to return to work

under such unchanged circumstances, and Defendants told Plaintiff she had to get Short Term

Disability or ADA accommodation or have her position terminated Plaintiff said she did not

wish to resign, explained she was not sure how to proceed, and that she was attempting to get

short term disability, while again reiterating to Defendants a need to change her circumstances so

she might return to work. Defendants chose to terminate Plaintiff rather than accommodate her,

and in direct retaliation for her medical issues that results from the pervasive and severe sexual




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 harassment that included increasing her workload and responsibilities unreasonably immediately

 after she complained other harassment

                                       COUNT I TITLE VII VIOLATION
                                          (SEX DISCRIMINATION)

        33.     Plaintiifrealleges paragraphs l through 32.

        34.     The aforementioned actions of Defendants constitute discrimination against

Plaintiff in violation of Title VII.

        35.    Plaintiff is a member of a protected class under Title VH.

        36.    Plaintiff was injured due to Defendants' violations of Tide VII, including but not

limited to, being subjected to severe, pervasive sexual harassment that created a work

environment a reasonable person would consider hostile, abusive, and intimidating.

        37.    Plaintiff is entitled to legal relief as a result of Defendants' actions.

        WHEREFORE, Pla.intiE demands:

               (a) Compensation for lost wages, benefits, and other remuneration,

               (b) Compensatory damages, including emotional distress, allowable at law,

               (C) Punitive damages;

               (d) Prejudgment interest on all monetary recovery obtained;

               (e) All costs and attorney's fees incurred in prosecuting these claims; and

               (i) For such further relief as the Court deems just and equitable.

                              COUNT II TITLE V11 VIOLATION
                                    (RETALIATION)

       38.     Plaindffrc-alleges paragraphs 1 through 32 above.

       39.     The aforementioned actions of Defendants constitute retaliation against Pldntiff

based upon Plaintiffs protected status in violation of Title VII.



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 harassment that included increasing her workload and responsibilities unreasonably immediately

 after she complained other harassment

                                       COUNT I TITLE VII VIOLATION
                                          (SEX DISCRIMINATION)

        33.     Plaintiifrealleges paragraphs l through 32.

        34.     The aforementioned actions of Defendants constitute discrimination against

Plaintiff in violation of Title VII.

        35.    Plaintiff is a member of a protected class under Title VH.

        36.    Plaintiff was injured due to Defendants' violations of Tide VII, including but not

limited to, being subjected to severe, pervasive sexual harassment that created a work

environment a reasonable person would consider hostile, abusive, and intimidating.

        37.    Plaintiff is entitled to legal relief as a result of Defendants' actions.

        WHEREFORE, Pla.intiE demands:

               (a) Compensation for lost wages, benefits, and other remuneration,

               (b) Compensatory damages, including emotional distress, allowable at law,

               (C) Punitive damages;

               (d) Prejudgment interest on all monetary recovery obtained;

               (e) All costs and attorney's fees incurred in prosecuting these claims; and

               (i) For such further relief as the Court deems just and equitable.

                              COUNT II TITLE V11 VIOLATION
                                    (RETALIATION)

       38.     Plaindffrc-alleges paragraphs 1 through 32 above.

       39.     The aforementioned actions of Defendants constitute retaliation against Pldntiff

based upon Plaintiffs protected status in violation of Title VII.



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       40.    Defendants' actions were willful.

       41.    Defendants' actions were done with malice.

       42.    Plaintiff was injured due to Defendants' violations of Title VII, including but not

limited to, being subjected to severe and pervasive sexual harassment that created a work

environment a reasonable person would consider hosdle, abusive, and intimidating.

       43.    Plaintiff reported the sexual harassment to Defendants.

       44.    Defendants did not alter the work environment to prevent the ongoing harassment.

Plaintiffs anxiety over the situation required her to leave the work environment. Defendants

were properly informed of Plaintiffs condition In response to this reporting, and rather than

alter the worldng environment or otherwise reasonably accommodate Plaintiff, Defendants chose

to terminate plaintiffs employment.

       45.    Plaintiff is entitled to legal relief as a result of Defendants' actions.

       WHEREFORE, Plaintiff demands:

              (a) Compensation for lost wages, benefits, and other remuneration;

             (b) Compensatory damages, including emotional distress, allowable at law;

             (c) Punitive damages;

              (d) Prejudgment interest on all monetary recovery obtained,

             (e) All costs and attorney's fees incurred in prosecuting these claims; and

             (i) For such tiurfher relief as the Court deems just and equitable.


                                   COUNT Il] FCRA VIOLATION
                                     (SEX n1scR11vuNATIoN)

      46.    Plaintiff re-alleges paragraphs l through 32.




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        47.     The aforementioned actions of Defendants constitute sexual harassment against

 Plaintiff in violation of the FCRA.

        48.     Plaintiff is a member of a protected class under the FCRA.

        49.     Plaintiff was injured due to Defendants' violations of the FCRA, including but not

 limited to being subjected to severe, pervasive sexual harassment that created a work

 environment a reasonable person would consider hostile, abusive, and intimidating.

        50.    Plaintiff is end led to legal relief as a result of Defendants' actions.

        W HEREFORE, mammademands:

               (a) Compensation for lost wages, benefits, and other remuneration;

               (b) Compensatory damages, including emotional distress, allowable at law;

               (c) Punitive damages;

               (d) Prejudgment interest on all monetary recovery obtained;

               (e) All costs and attorney's fees incurred in prosecuting these claims; and

               (f) For such further relief as the Court deems just and equitable.

                                COUNT IV FCRA VIOLATION
                                    (RETALIATION)

        51.    Plaintiffre-alleges paragraphs 1 through 32 above.

        52.    The aforementioned actions of Defendants constitute retaliation against Plaintiff

based upon P1aintiH's protected status in violation of the FCRA.

        53.    Defendants' actions were willful.

        54.    Defendants' actions were done with malice.

       55.     The retaliation described herein was based on Plaintiffs reporting of harassment

and request for investigation into, and change in, working environment, as well as reasonably




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 request for accommodation of anxiety directly attributable to the pervasive sermad harassment in

 the work environment.

        56.    Plaintiff was injured due to Defendants' violations of the FCRA, including but not

 limited to, being subjected to severe and pervasive sexual harassment that created a work

 environment a reasonable person would consider hostile, abusive, and intimidating and given

 increased world ad, diminished job authority, diminished autonomy, heightened scrutiny, and

 ultimately terminated rather than being afforded any accommodation or substantial change in the

 nature of the ongoing sexual harassment.

        57.    Plaintiff properly, repeatedly reported the sexual harassment to Defendants.

        58.    Plaintiffs anxiety over the situation required her to leave the work environment.

Defendants did not alter die work environment to prevent the ongoing harassment. Rather than

 alter the working environment, or accommodate Plaintiff, Defendants chose to terminate

plaintiffs employment.

        59.    Plaintiff is entitled to lead relief as a result of Defendants' actions.

        WHEREFORE, Plainti:&` demands:

               (a) Compensation for lost wages, be rents, and other remuneration;

               (b) Compensatory damages, including emotional distress, allowable at law;

               (c) Punitive damages;

               (d) Prejudgrnent interest on all monetary recovery obtained;

               (e) All costs and attorney's fees incurred in prosecuting these claims; and

               (t) For such further relief as the Court deems just and equitable.

                                 COUNT V ADA VIOLATION
                                    (D1sc1uM1AT1oN)

       60.    Plaintiffre-alleges paragraphs 1 d1rough 32 above.


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       61    Plaintiff is a protected individual under the ADA.

       62.   Plaintiff suffered extreme arudety and medical disability as a result of her

             harassment and Defendants' failure to alter the pervasive harassment present in

              the work environment or otherwise accommodate her conditions.

       63.   Plaintiffs tennination was a retaliatory personnel action as described in Fla. Stat.

              § 448.l01(5)

      WHEREFORE, Plaintiff demands:

             (a) Compensation for lost wages, beets, and other remuneration;

             (b) All costs and attorney's fees incurred in prosecuting these claims; and

             (c) For such lhlther relief as the Court deems just and equitable.

                              COUNT VI ADA VIOLATION
                                  (RETALIATION)

      64.    Plaintiff re-alleges paragraphs 1 through 32 above.

      65.    Plaintiff is a protected individual under the ADA.

      66.    Plaintiff suffered extreme amdety and medical disability as a result of pervasive

             and severe sexual harassment and Defendants' failure to alter the pervasive

             harassment present in die work environment or otherwise accommodate her

             conditions.

      67.    Plaintiffs tennination was a retaliatory personnel action as descdbed in Fla Stat.

             § 448.l01(5)

      WHEREFORE, Plaintiff demands:

             (a) Compensation for lost wages, benefits, and other remuneration,

             (b) All costs and attorney's fees incurred in prosecuting these claims; and

             (c) For such further relief as the Court deems just and equitable.


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                COUNT VII NEGLIGENT SUPERVISION & RETENTION

       68.    Plaintiffre-alleges paragraphs 1 - 32 above.

       69.    Plaintiff made Defendants aware of problems with her supervisor. Employer

              failed to take action or conduct an investigation which was negligent given the

              allegations. Dep't ofEnvtl. Pant. v. Hardy, 907 So. ad 655, 660 (Fla. 5th DCA

              2005).

      70.    The                  Defendants                  "negligently                 placed

              Plaintiff "under the supervision of [an employee], when [the defendants] either

             knew or should have known that [the employee] had the propensity to commit

             [the torts committed]." Malicki v. Doe, 814 So. ad 347, 362 (Fla. 2002).

      71.    Defendants "(i) knows or has reason to know that" Plaintiffs supervisor "has the

             ability to control his servant, and (ii) knows or should know of the necessity and

             opportunity for exercising such control," "is under a duty to exercise reasonable

             care so to control his servant while acting outside the course of his employment as

             to prevent him film intentionally harming others or from so conducting himself

             as to create an unreasonable risk of bodily harm to them .        " Id at 361 n.l4

             (emphasis omitted) quoting RESTATEMENT (SECOND) OF TORTS § 317 (AM. LAW

             INST. 1965)).

             114-15 (Fla. 4th DCA 2016). G4S Secure Sols. USA. Inc. v. Golzar, 208 So. 3M

             204 (Fla. 3M DCA 2016).

      WHEREFORE, Plaintiff demands:

             (a) Compensation for lost wages, beneEts, and other remuneration,

             (b) All costs and attorney's fees incurred in prosecuting these claims; and



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              (c) For such further relief as the Court deems just and equitable.



                                   JURY TRIAL DEMAND

      Plaintiff demands trial by jury aS'to all issues.

      Dated March 8, 20 1 8



                                             Respecdhlly submitted,

                                             JOHN BALES AtToRNEYs

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